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UNITED STATES COURT OF INTERNATIONAL TRADE                                           FORM 7


StarKist Co.


                                    Plaintiff,                                   14-197
                                                                       Court No.
          v.                                                           and Attached Schedule
United States

                                    Defendant.




                                   NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses the action(s) listed on the attached
schedule.




       August 7, 2022
Dated: __________________

                                                 /s/Michael Roll, Partner, Roll & Harris LLP
                                                 __________________________________________
                                                           Attorney for Plaintiff
                                                 1999 Avenue of the Stars, Ste 1100
                                                 __________________________________________
                                                             Street Address
                                                 Los Angeles, CA 90067
                                                 __________________________________________
                                                         City, State and Zip Code
                                                 310-294-9501
                                                 __________________________________________
                                                               Telephone No.
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                                   Schedule to Notice of Dismissal


   Court Number(s)         Plaintiff(s) Name           Protest Number(s)            Entry Number(s)
                                                      or Claim Number(s)             (if applicable)
                                                          (if applicable)
14-197                    StarKist Co.              2506 13 100023                231   7439736   6
14-197                    StarKist Co.              2506 13 100023                231   7439838   0
14-197                    StarKist Co.              2506 13 100023                231   7440425   3
14-197                    StarKist Co.              2506 13 100085                231   7441415   3
14-197                    StarKist Co.              2506 13 100085                231   7441570   5
14-197                    StarKist Co.              2506 13 100085                231   7441657   0
14-197                    StarKist Co.              2506 13 100111                231   7442290   9
14-197                    StarKist Co.              2506 13 100111                231   7442698   3
14-197                    StarKist Co.              2506 13 100111                231   7442819   5
14-197                    StarKist Co.              2506 13 100125                231   7443337   7
14-197                    StarKist Co.              2506 13 100125                231   7443541   4




                                          Order of Dismissal

       The actions listed on the schedule set forth above, having been voluntarily noticed for
dismissal by plaintiff, are dismissed.


         August 8, 2022
Dated: _____________________
                                                        Clerk, U. S. Court of International Trade



                                                        By: ________________________________
                                                              /s/ Cynthia Love
                                                                   Deputy Clerk




(As amended Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
